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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-CV-24100-COOKE/GOODMAN


   DIGNA VINAS,

                  Plaintiff,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

               Defendant.
   ___________________________________/

                           DECLARATION OF BRENDA G. KRONZEK.

          1.      I am over 21 years of age and am competent to make this Declaration.

          2.      I am a paralegal at the law firm of McDowell Hetherington LLP, which represents

   The Independent Order of Foresters (“Foresters”). Therefore, the facts set forth in this Declaration

   are based on my own personal knowledge.

          3.      On November 11, 2020, I provided Dr. Frager with a copy of all documents

   identified in Exhibit A, including Mr. Vina’s Application, Diabetes Questionnaire, and Dr.

   Hershman’s January 22, 2015 letter.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

   statements are true and correct.



   Dated: December 23, 2020                      s/Brenda G. Kronzek
                                                 Brenda G. Kronzek
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                              Vinas v The Independent Order of Foresters
                                 Documents for expert witness review

                                            EXHIBIT A

   2008-04-29 to 2010-03-02      LabCorp Results (IOF-000067 to 76)

   2010-10-14 to 2011-02-16      Quest Diagnostics Results (IOF-000063 to 66)

   2012-07-30 to 2015-11-17      Dr. Hershman office visit notes (IOF-000106 to 150)

   2015-01-12   Application with diabetes questionnaire (IOF-0000103 to 111, 16 to 17)

   2015-01-16   Foresters letter to Decedent regarding MIB alert (IOF-000051)

   2015-01-22   Letter from Dr. Hershman regarding not taking medication for diabetes (IOF-
                000226)

   2016-04-26 to 2016-12-30 Progress notes at Hershman Medical (IOF-000080 to 107)

   2016-12-5    CT abdomen and pelvis (IOF-000057 to 58)

   2016-12-12   Progress Note-Hershman Medical (IOF-000054)

   2016-12-14   Progress Note-Kenneth Hershman (IOF-000066)

   2016-12-14   ECG (IOF-000056)

   2016-12-27   Chest Evaluation-Hershman Medical (IOF-000055)

   2017-01-05   Progress note by Lloyd Hershman, M.D. (IOF-000061 to 62)

   2016-12-05   Creatinine serum report (IOF-000077)

   2017-04-05    Denial letter (IOF-000046 to 48)
